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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF WISCONSIN


DEMOCRATIC NATIONAL COMMITTEE
AND DEMOCRATIC PARTY OF WISCONSIN,

                  Plaintiffs,

      v.                                               Case No. 20-CV-0249

MARGE BOSTELMANN, JULIE M. GLANCEY,
ANN S. JACOBS, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., AND MARK L. THOMSEN,
IN THEIR OFFICIAL CAPACITIES AS
WISCONSIN ELECTIONS COMMISSIONERS,

                  Defendants.


          DEFENDANTS’ BRIEF IN OPPOSITION TO
 PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER
              AND PRELIMINARY INJUNCTION


      Defendants Marge Bostelmann, Julie M. Glancey, Ann. S. Jacobs, Dean

Knudson, Robert F. Spindell, Jr., and Mark L. Thomsen, by their attorneys,

Eric J. Wilson, Deputy Attorney General, and Brian P. Keenan, S. Michael

Murphy, and Jody J. Schmelzer, Assistant Attorneys General, submit this

response in opposition to Plaintiffs’ motion for temporary restraining order and

preliminary injunction.

                                INTRODUCTION

      As the Court recognized at yesterday’s hearing, this case is not really

about deficiencies in Wisconsin’s systems for voter registration or requesting
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absentee ballots. Instead, the plaintiffs challenge that those systems have

become unconstitutional because voting on election day—and thus election-day

registration—is more burdensome than normal due to the COVID-19 virus.

While the virus is of great public concern, and has required significant

protective measures, most Wisconsin voters can still vote absentee if they no

longer wish to go to the polls. The burdens the plaintiffs allege apply to subsets

of the voting population, and they have not shown the number of voters

affected or the specific burdens those voters face. Given the risks of changing

election law within weeks of the election—voter confusion and inability to

ensure these changes are effectuated statewide—the Court should deny the

plaintiffs’ motion.

                              RELEVANT FACTS

        WEC administers and enforces Wisconsin elections law. (Wolfe Decl.

¶ 3.) 1 In administering elections, WEC works with the State’s county and

municipal clerks. (Id.) In Wisconsin, there are 72 county clerks and 1,850

municipal clerks. Over 60 percent of the State’s municipal clerks are part-time.

(Id.)




        WEC is and administrative agency that does not have the authority to delay,
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cancel or reschedule our upcoming April 7 election, nor does it have the authority to
make changes to existing laws and regulations. (Wolfe Decl. ¶ 4.)

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      While the WEC is tasked with the enforcement of chapters 5 to 10, and

12, Wis. Stats., due to the decentralized nature of election administration in

Wisconsin, voter registration, absentee balloting and administering the photo

ID law are all done by local election officials. (Id.) For example, the WEC issues

clerk communications, training materials and forms for local clerks, but

ultimately local clerks are tasked with implementing any changes in policy or

the law in their community. (Id.)

      In Wisconsin, the presidential preference primary and spring election is

on April 7, 2020. (Wolfe Decl. ¶ 5.) In addition to the presidential primary,

there is an election for a Justice of the Wisconsin Supreme Court and elections

for many local offices including mayors and members of local governing bodies

in each of the state’s municipalities. (Id.)

      In general, implementation of any changes to the rules for the April 7

election would be complicated due to Wisconsin’s decentralized election

administration structure discussed above. (Wolfe Decl. ¶ 6.) Approximately

two-thirds of the municipal clerks in Wisconsin municipalities responsible for

conducting elections are employed part-time. (Wolfe Decl. ¶ 7.) Communicating

significant changes to those clerks, making necessary modifications to IT

applications and ensuring consistent implementation across the state would

pose a significant challenge under the compressed timeline available. (Id.)




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I.    Changes to the March 18 online and by-mail registration
      deadline.

      There are several different ways to register to vote in Wisconsin. (Wolfe

Decl. ¶ 8.) Prior to Election Day, voters can register in three different ways: (1)

electronic registration through https://myvote.wi.gov (MyVote), which is the

voter facing web application that is the public’s interface with election systems;

(2) by mailing the registration form and proof of residence document to the

appropriate local election official; or (3) in person at the office of the municipal

clerk, the municipal board of elections, or at another location authorized by the

municipality. (Id. ¶ 9.)

      Under current law, the deadline for online and by-mail voter registration

is 20 days prior to the election. Wis. Stat. §6.28(1)(a). For the April 7 election,

that was the end of the day on Wednesday, March 18. (Id. ¶ 10.)

      A.    Reactivation of the online voter registration system.

      Because the deadline for online voter registration has now passed, the

online system would have to be reactivated to accept new voter registrations.

(Wolfe Decl. ¶ 11.) From a technical standpoint, the reactivation of the online

registration process is possible, but not without significant risk. (Id.) There are

essentially three steps required that could be completed in approximately

48–72 hours:

      Step 1: Modifying code in MyVote. This would effectively reset the
      “clock” that tells MyVote to stop accepting on-line registration requests.


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        A software developer would have to set a new deadline, if ordered by the
        Court.

        Step 2: Testing of the new code. This step is more critical and
        requires more time to complete correctly. Moving on from this step
        should be based on meeting appropriate testing standards and not based
        on passage of time. Testing evaluates the proper function of code
        changes to validate correct operation and the absence of errors or other
        defects. Because the registration process includes an interface (API)
        with the Department of Transportation (DOT) (see Paragraph 23,
        below), testing may require collaboration with DOT. If necessary,
        debugging would occur before testing is complete. This step also includes
        testing of the statewide voter registration system to ensure that the
        voter registration is entered into the system with the correct status and
        that information is mapped correctly to the pollbook.

        Step 3: Deployment. The final step is to release and activate the new
        code, making it accessible to the public. This process would also include
        the deployment of public notices on both MyVote and the WEC website
        indicating the system changes

(Id.)

        There is significant risk involved in deploying software changes to the

election systems that function as the backbone of election management in the

state in the weeks preceding a statewide election. (Wolfe Decl. ¶ 12.) Such a

change would violate a statewide enterprise level change freeze enacted to

protect critical elections operations from unintentional disruption. (Id.) During

a change freeze, all state agencies are prohibited from making changes to any

state agency information technology services and servers in order to mitigate

the risk that errors or security vulnerabilities are introduced to state election

systems. (Id.) Deployment of any software changes can produce unanticipated

consequences. The changes freeze guards against that possibility. (Id.)


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      When the system is functioning properly, online registrations are

processed immediately and would ordinarily be completed with little

discernable delay. (Wolfe Decl. ¶ 13.) But reactivation of online registration

capabilities would have various impacts on local election officials and voters.

(Id.) The most significant effect for clerks and other election would be on

municipal poll books. (Wolfe Decl. ¶ 14.) Most large municipalities, and many

counties, send their poll books to publishers for printing immediately after the

online registration deadline passes. (Id.) In these jurisdictions, this means that

any voter who registered after March 18 would not appear in these poll books.

(Id.) Instead, voters registering after March 18 would appear in either the

supplemental or post-supplemental poll book. (Id.) In communities using

electronic pollbooks, the voter file needs to be uploaded at least a week prior to

the election so that it can be tested. (Id.)

      The reactivation of on-line registration would also produce more

registration list alerts for clerks. (Wolfe Decl. ¶ 15.) These electronic notices

require clerks to validate, and sometimes process, changes to voter records in

their jurisdictions. (Id.) Processing these alerts ensures the correct voters

appear on the poll list. (Id.)

      For voters, the risk of confusion would likely present the greatest

challenge to reactivation of the electronic database. (Wolfe Decl. ¶ 16.) The

registration deadline is referenced in dozens of documents, forms, and web


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pages. (Id.) Locating and changing all the existing language would be

impractical and introduce problems for future elections, including the May 12,

2020 election in Congressional District 7. (Id.)

      An extended deadline for online and by-mail voter registration would

likely impact municipal clerk’s opportunity to cure defects. (Wolfe Decl. ¶ 19.)

By-mail applications are more likely to be missing information than online

applications. (Id.) When applications are received weeks ahead of the election,

clerks have time to contact voters and obtain missing information. (Id.) But

busy clerks in the days immediately prior to an election may be unable to

contact voters to correct defects, or voters may lack adequate time to respond

to clerk inquiries. (Id.) Voters appearing at a polling location expecting to be

registered but not appearing on any poll list due to a defect that was not cured,

is a real issue that could affect voter’s confidence in the entire process, not to

mention the possibility that the voter may not be able to cast a ballot if they

are unable to register at the polls. (Id.)

      Lastly, communicating changes to the online and by-mail registration

deadlines to 1,850 municipal clerks and 72 county clerks and to voters would

be challenging, as would attaining consistent application throughout the state.

(Wolfe Decl. ¶ 20.)




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      B.    Processing online and by-mail voter registrations if the
            deadline was extended.

      The process for by-mail voter registrations would not change

significantly if deadlines were extended to April 3. (Wolfe Decl. ¶ 17.) As with

online registrations, these voters could appear on supplemental or post-

supplemental poll books. (Id.)

      The primary election administration concern would be practical

implementation of a new deadline imposed by the Court. (Id. ¶ 18.) The

problem is that a mailing-date based deadline does not account for mail delays.

(Id.) Poll books need to be final at some point before the election, and it is

impossible to know whether a timely-sent registration with a later deadline is

still in the mail at the time of poll book finalization. (Id.) Currently, mailed

registrations must be postmarked by March 18. (Id.) A postmark-based

deadline, however, may not work for an extended deadline. (Id.) This is because

mailed registration forms that arrive after April 3 would risk that the voter

does not appear in the poll book on April 7. (Id.) Clerks would need to process

these registration forms and, with the April 7 election approaching,

registration forms received after April 3 may not be able to be processed. (Id.)

Instead, a new deadline for by-mail registrations would need to be defined by

the arrival date or, alternatively, be set so early as to effectively eliminate the

risk that by-mail registrations would arrive after April 3. (Id.) Further, given



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that this lawsuit assumes that these new registrants would be requesting

absentee ballots, applications received very close to the election would likely

not allow time for the ballot to be sent to and returned by the voter. (Id.)

      There is no way to establish a uniform “drop dead” cutoff date for new

by-mail voter registrations, because what works for one municipality may not

work for all 1,850 municipalities. (Wolfe Decl. ¶ 21.) For example, the City of

Milwaukee will soon start printing poll books. (Id.)

II.   The proof of residency requirement for new voter registrations.

      In registering to vote, an elector needs to fill out a form containing

information showing that he or she meets the qualifications for voting in Wis.

Stat. § 6.02 and submit proof of the elector’s residence per Wis. Stat. § 6.34.

(Wolfe Decl. ¶ 22.) There are many acceptable forms of proof of residency,

including common documents like a gas, electric, or telephone service

statement (utility bill) for the period commencing no earlier than 90 days

before Election Day or a bank or credit card statement. (Id. ¶ 23.) Voters may

present a proof of residency document as a hard copy, paper document or an

electronic document on your smartphone, tablet, or computer. (Id. ¶ 24.)

      Voters registering at the polls on election day do not need to make a

photocopy of their proof of residency document. (Id. ¶ 25.) They only need to

show the proof of residency document to the poll worker. (Id.)




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      Only voters with a valid, unexpired Wisconsin driver license or

Wisconsin state ID card may register to vote online. (Wolfe Decl. ¶ 26.) To

register online, the address at which the voter is registering must match the voters’

address with DOT. (Id.) When the website is active, these voters can complete

their online registration immediately. (Id.) If the address at which the voter

wishes to register is different from that with the DOT, then the voter needs to

update their address with DOT before registering online. (Id.) A person can

change their address with DOT online. (Id.) For those that attempt to register

but whose voting addresses or other data do not match information in the DOT

database, the website directs them to the DOT website. (Id.) When the online

registration system is running, the DOT address change occurs quickly, and

the voter can then proceed complete their online voter registration. (Id.) For

these individuals, no proof of residency is needed because the DMV matching

with the voter’s name, date of birth, address, and driver license number

provided for voting purposes serves as the voter’s proof of residency. (Id.)

      People unable to register online, because they do not have a Wisconsin

driver license or state ID card or because their DMV product is invalid or

cannot match, can fill out the voter registration form online, then print it, sign

it and mail or deliver it to their municipal clerk’s office along with a copy of a

proof of residence document. (Wolfe Decl. ¶ 27.) Voters can send an original of

any proof of residency document if they no longer need the document. (Id.)


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        Voters may also deliver the registration form (with proof of residence) to

their municipal clerk’s office by the Friday before the election, or they may

bring it to their polling place on election day. (Wolfe Decl. ¶ 28.) For either of

these options, the voter need only show the document to the municipal clerk or

poll worker and does not need a copy of the proof of residency document. (Id.)

        Once an individual is registered to vote, that registration is valid until

they move, change their name or otherwise no longer meet the qualifications

of an elector under Wis. Stat. § 6.02, or become disqualified under Wis. Stat.

§ 6.03. (Wolfe Decl. ¶ 29.) If an individual were permitted to register to vote

without submitting the required proof of residency document, that

requirement would essentially be waived for as long as their registration is

valid, unless a court order or legislation required submission of such

documentation at a later date. (Id.)

III.    Voter ID requirements for absentee ballots.

        Individuals must be registered to vote to request an absentee ballot.

(Wolfe Decl. ¶ 30.) The deadline for registered voters to request an absentee

ballot be mailed to them is the Thursday before the election, which is April 2

for the upcoming April 7 spring election. (Id.)

        There are several ways registered voters can request absentee ballots.

(Wolfe Decl. ¶ 31.) The easiest way is to sign up at MyVote website. (Id.) If the

elector has a photo ID on file with their clerk’s office due to a previous absentee


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by-mail request, they do not need to upload or mail a copy of their ID to get an

absentee ballot. (Id.) If the elector does not already have a photo ID on file with

their clerk’s office, they must upload a copy. (Id.) The elector can take a picture

and upload it on the MyVote website with the same device used to access the

website. (Id.) Devices such as a computer, tablet, or phone can take a picture

and upload it. (Id.) The entire process of requesting a ballot, taking a picture

of an ID, and uploading the picture can be done with a smart phone. (Id.)

      Voters can also request absentee ballots by mailing, emailing or faxing

their municipal clerk’s office. (Wolfe Decl. ¶ 32.) See also Wis. Stat. § 6.86(a)1,

(ac). Voters can find their clerk’s contact information on MyVote. (Id.) Just as

with online requests, if voters already have a photo ID on file from previous

absentee requests under their current registration, they will not need to

provide it again. (Id.) If voters do not have a photo on file, their request must

be accompanied by a copy of their photo ID. (Id.)

      Voters who are indefinitely confined, meaning they may have difficulty

getting to the polls for reason of age, illness, infirmity, or disability are not

required to provide a photo ID. (Wolfe Decl. ¶ 33.) Voters in care facilities can

have a representative of the facility confirm the resident's identity instead of

providing a photo ID. (Id.)




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IV.    Relevant deadlines after the April 7 election.

       After the polls close on April 7, 2020, election inspectors tabulate the

votes received at the polling place, municipal clerks report the returns within

two hours after tabulation, and the county clerks post the results within two

hours after receiving the returns. (Wolfe Decl. ¶ 34.) See Wis. Stat. §§ 7.51(1),

(4), 7.60(1). Municipalities have two ways to count absentee ballots. (Id.) In

some municipalities, absentee ballots are counted at the polling places. (Id.)

See Wis. Stat. §§ 6.88, 7.51. In other municipalities, a municipal board of

absentee ballot canvassers counts all absentee ballots in the jurisdiction. (Id.)

See Wis. Stat. § 7.52. The official results of the elections are not determined

until each official board of canvassers (for the municipality, county, state,

school district, or other special purpose district) has met and completed the

official canvass of their respective offices. (Id. ¶ 35.)

       After the April 7, 2020 election, municipal boards of canvass have until

April 13 to certify the results to the county. (Wolfe Decl. ¶ 36.) The municipal

boards of canvass must publicly declare the results for municipal contests by

the third Tuesday of April. (Id.) See Wis. Stat. § 7.53(2)(d). This is also the date

that the term begins for most local offices. (Id.) County boards of canvass have

10 days to certify their election results to WEC, which is April 17, 2020. (Id.)

See Wis. Stat. § 7.60(5). WEC then must publicly canvass the returns wherein

it aggregates the election results. WEC has until May 15, 2020, to certify the


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election results for state and federal contests. (Id.) See Wis. Stat. § 7.70(3)(a).

WEC plays no role in tabulating votes received at polling places; its role is to

aggregate and certify the results. (Id. ¶ 37.)

      It would be problematic to count absentee ballots received up to ten days

after the election given the canvass and certification deadlines because it

would have a domino effect on all the canvass processes and statutory

deadlines for each unit of government. (Wolfe Decl. ¶ 38.)

           PRELIMINARY INJUNCTION LEGAL STANDARD

      A preliminary injunction is an extraordinary and drastic remedy, and is

never awarded as a matter of right. Munaf v. Geren, 553 U.S. 674, 689–90

(2008). “[A]n injunction requiring an affirmative act by the defendant” must be

“cautiously viewed” and granted only “sparingly.” Graham v. Med. Mut. of

Ohio, 130 F.3d 293, 295 (7th Cir. 1997). “Preliminary relief is properly sought

only to avert irreparable harm to the moving party.” Chi. United Indus., Ltd.

v. City of Chicago, 445 F.3d 940, 944 (7th Cir. 2006).

      A “moving party must show that it has ‘(1) no adequate remedy at law

and will suffer irreparable harm if a preliminary injunction is denied and

(2) some likelihood of success on the merits.’” Wis. Right To Life, Inc. v.

Barland, 751 F.3d 804, 830 (7th Cir. 2014) (citation omitted); Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). “For preliminary relief to be

granted, the irreparable harm must . . . be likely. That is, there must be more


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than a mere possibility that the harm will come to pass . . . .” Michigan v.

U.S. Army Corps of Eng’rs, 667 F.3d 765, 788 (7th Cir. 2011).

      Only if the moving party shows likelihood of success on the merits and a

suffering of irreparable harm if the injunction does not issue, then “the court

weighs the competing harms to the parties if an injunction is granted or denied

and also considers the public interest.” Wis. Right To Life, 751 F.3d at 830

(citation omitted). “The equitable balancing proceeds on a sliding-scale

analysis; the greater the likelihood of success on the merits, the less heavily

the balance of harms must tip in the moving party’s favor.” Id.

(citation omitted).

      A preliminary injunction “may only be awarded upon a clear showing

that the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22.

Granting a preliminary injunction involves the “exercise of a very far-reaching

power” and is “never to be indulged in except in a case clearly demanding it.”

Roland Mach. Co. v. Dresser Indus., Inc., 749 F.2d 380, 389 (7th Cir. 1984)

(citations omitted).

                                 ARGUMENT

      Plaintiffs cannot meet their burden of proving that they are entitled to

the extraordinary remedy of a preliminary injunction. First, they cannot show

that they will suffer irreparable harm if the injunction is not issued. That alone

prevents the Court from granting their motion. Second, even if they could prove


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irreparable harm, they cannot show some likelihood of success on the merits

under the Anderson/Burdick balancing test. The Court should deny Plaintiffs’

motion.

V.    Plaintiffs are not likely to succeed on the merits of their claims.

      The plaintiffs are not likely to succeed on the merits of their four claims

under the Anderson/Burdick test, and their procedural due process claim is

redundant to those claims.

      A.    The Anderson/Burdick balancing test.

      The Constitution both protects the right to vote and “confers on the

states broad authority to regulate the conduct of elections, including federal

ones.” Griffin v. Roupas, 385 F.3d 1128, 1130 (7th Cir. 2004); see also U.S.

Const. art. I, § 4, cl. 1 (permitting States to prescribe “[t]he Times, Places and

Manner of Holding Elections for Senators and Representatives”). “Election

laws will invariably impose some burden upon individual voters.” Burdick v.

Takushi, 504 U.S. 428, 433 (1992). The general “constitutional question is

whether the restriction and resulting exclusion are reasonable given the

interest the restriction serves.” Griffin, 385 F.3d at 1130.

      The question is answered by applying the Anderson-Burdick test, which

has two steps. At the first step, courts identify any burden on the right to vote,

weigh its character and magnitude, and measure its severity. Timmons v. Twin

Cities Area New Party, 520 U.S. 351, 358 (1997) (citation omitted). Courts

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evaluate a law’s impact not in isolation but “as a part of [the State’s] electoral

scheme” as a whole. Burdick, 504 U.S. at 441. Any burdens imposed by the law

are to be measured against the baseline of “the usual burdens of voting.”

Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 198 (2008) (opinion of

Stevens, J.).

      In the second step of the analysis, a court turns to the State’s interests.

“If the burden on the plaintiffs’ constitutional rights is ‘severe,’ a state’s

regulation must be narrowly drawn to advance a compelling state interest,”

satisfying strict scrutiny. Stone v. Bd. of Election Comm’rs, 750 F.3d 678, 681

(7th Cir. 2014) (citation omitted). But “[i]f the burden is merely ‘reasonable’

and ‘nondiscriminatory,’ by contrast, the government’s legitimate regulatory

interests will generally carry the day.” Id. (citation omitted). Under this

flexible analysis, “[l]esser burdens . . . trigger less exacting review.” Timmons,

520 U.S. at 358, and “minimally burdensome and nondiscriminatory

regulations” in particular “are subject to a less-searching examination closer

to rational basis.” Ohio Democratic Party v. Husted, 834 F.3d 620, 627 (6th Cir.

2016) (citations omitted). A justification’s sufficiency is generally a “legislative

fact” that must be accepted if reasonable. Frank v. Walker, 768 F.3d 744

(7th Cir. 2014); see Crawford, 553 U.S. at 194–97 (opinion of Stevens, J.);

see also Husted, 834 F.3d at 632.




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                1.   Plaintiffs’ are not likely to succeed on their request to
                     extend the March 18 electronic and by-mail voter
                     registration deadline.

      The state has a valid interest in cutting off electronic and mail

registration three weeks before the election. After that date, clerks can begin

printing their poll books for use at polling locations. For example, the City of

Milwaukee will begin printing its poll books in the next few days, after the

online and mail registration date has closed. (Wolfe Decl. ¶¶ 14, 21.) Later

registrations can be added to a supplemental pool book but, at a certain point,

registration needs to close so that poll books can be finalized. Thus, Wisconsin’s

voter registrations system, which in ordinary circumstances is “easy,” Frank,

768 F.3d at 748, serves legitimate state interests in the orderly administration

of elections.

      Plaintiffs argue that the March 18 deadline for online and by-mail voter

registration is unconstitutional, during the COVID-19 pandemic, because they

hypothesize that “potentially thousands of citizens” will be prevented from

voting because “registering in person is simply not feasible.” (Pl. Br. 1.)

Defendants recognize that some voters may face difficulties registering during

this time, but many voters will not be affected. Most voters do not need to

register to vote because they have already registered, and some voters were

able to register before the March 18 deadline. In addition, voters can still

register in person either at the clerk’s office (where they can also cast an


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absentee ballot at the same time) or at the polling place on election day. While

the Governor has issued an executive order preventing gatherings of 10 or

more people, the order exempts government facilities. And in-person absentee

voting and registration can be accomplished under the “curbside voting”

provisions of Wis. Stat. § 6.82. That process allows an elector to both register

and complete a ballot without entering the municipal clerk’s office during

absentee voting or the polling place on election day. There is no order

preventing someone from registering at the clerk’s office. While some subset of

voters may be burdened in today’s special circumstances, Plaintiffs have not

established either the number of voters or the burdens those voters would face.

The Seventh Circuit has made it clear that a plaintiff is not entitled to a

preliminary injunction based upon speculative allegations of potential harm to

the plaintiff. See Goodman v. Ill. Dep’t. of Fin. & Prof’l Regulation, 430 F.3d

432, 437 (7th Cir. 2005) (stating that a preliminary injunction “should not be

granted unless the movant, by a clear showing, carries the burden of

persuasion”).

      As a counter-vailing interest, extending the deadline could negatively

impact the elections process. First, as it relates to electronic registration,

changing a software program this close to the election presents significant

risks in the event something goes wrong. (Wolfe Aff. ¶ 12.) This system is the

backbone of election management in the state, and thus changes to the system


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risk negatively impacting the entire election. (Wolfe Aff. ¶ 12.) There is a

statewide enterprise level change freeze enacted to protect critical elections

operations from unintentional disruption and mitigate the risk that errors or

security vulnerabilities are introduced to state election systems. (Wolfe Aff.

¶ 12.) Deployment of any software changes would violate that freeze and risks

unanticipated consequences that might negatively affect the election.

      Further, Defendants do not handle mail-in registrations; local clerks

handle those. Given that there are 1850 municipal election clerks in Wisconsin,

there is a risk that any injunction regarding mail-in ballots will not be applied

in the same manner by each and every clerk. Both the communication and the

implementation of such a significant change would be a challenge so close to

the election given Wisconsin’s decentralized system, and would create

potential confusion and increased likelihood of mistakes in other aspects of

conducting the election. And mail-in applications with errors will likely result

in a failure to register because clerks will not have time to help voters fix

mistakes in their applications. (Wolfe Decl. ¶ 19.) The Court should consider

these potential problems when ruling on this aspect of Plaintiffs’ claims.

      And even if the Court were to grant some relief, it would need to set a

deadline by which mail-in registrations are received—by April 3 at the latest—

in order to allow clerks to process the application prior to the election and get

a person’s name on a poll list. (Wolfe Decl. ¶ 18.) But given that Plaintiffs want


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late registrations for purposes of absentee voting, in order to be practical, the

date would need to be sufficiently ahead of election day to allow the absentee

ballot to be delivered to the voter and returned to the clerk. Plaintiffs allege

that the mail is slow, (Pl. Br. 2); mail from the clerk would be delayed the same

as mail from a voter. At a certain point, absentee ballots could not practically

be postmarked by election day—the extended deadline Plaintiffs’ request.

            2.    Plaintiffs are not likely to succeed on their request for
                  relief from the proof of residency requirement for
                  new voter registrations.

      Wisconsin has a legitimate state interest in requiring voters to prove

that they live at the address at which they register to vote. Proof of residency

helps “ensur[e] that voters actually reside in the municipalities where they

register to vote.” One Wisconsin Inst., Inc. v. Thomsen, 198 F. Supp. 3d 896,

937 (W.D. Wis. 2016). That interest is especially relevant to the April 7

election, which involves elections for many local offices and the elector’s

address determines which local races he may vote in. Further, this Court found

that, at least in normal circumstances, the proof of residency requirements

“impose only slight burdens on voters.” One Wisconsin Inst., Inc. v. Thomsen,

198 F. Supp. 3d 896, 935 (W.D. Wis. 2016). That same analysis would apply to

voters attempting to register in person today, either at the polling place or with

the clerk. Even in today’s circumstances, the burden of supplying proof of

residence is slight for the vast majority of voters, and Plaintiffs have not


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established that a significant number of voters would face a burden or whether

that burden would be severe.

      The potential burdens are limited to those who cannot easily print or

copy a proof of residence document. Plaintiffs do not offer evidence as to the

number of people this may affect or the specific burdens such a person might

face. Those without the ability to copy or print a proof of residence document

at home may be able to secure copies at commercial establishments like FedEx

stores, UPS stores, convenience stores, and any other store offering copying

services. The Governor’s executive orders have not shut down all stores, and

Wisconsin is not subject to a “shelter in place” directive. Plaintiffs’ only

evidence of difficulty is that the Madison library has closed, (Spiva Decl. Ex.

2), but libraries are not the only source for copying services (and some libraries

are still open). Thus, Plaintiffs have not proven the burdens on the narrow set

of voters who cannot easily provide a proof of residence document even in

today’s circumstances.

      While online registration and registration by mail are no longer

available, the proof of residence requirement would not be an issue should the

Court grant the plaintiffs’ motion to extend those deadlines. Those who register

to vote online do not need to provide a separate proof of residence document.

Online registration is limited to those who have a valid Wisconsin drivers’

license or ID card. (Wolfe Decl. ¶ 26.) To register online, a person’s voter


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registration address must match the address on file with the Wisconsin

Department of Transportation (DOT). (Wolfe Decl. ¶ 26.) If there is a successful

match, then the voter is immediately registered to vote without providing a

proof of residence document—the DOT address serves as proof of residence.

(Wolfe Decl. ¶ 26.) If a person’s DOT address is outdated, they can change that

address online at the DOT website. (Wolfe Decl. ¶ 26.) When the system is

active, that change becomes effective in short order such that the person can

then register to vote. (Wolfe Decl. ¶ 26.) Thus, the burdens for those able to

register electronically are very small.

      The same is true of those who register by mail. These individuals need

to send in a completed registration form by mail to their clerk’s office. Wis.

Stat. § 6.33; (Wolfe Decl. ¶ 27.) Many of them will print the application form,

which is available online (Wolfe Decl. ¶ 27), and mail it in. If individuals can

print the form, then they should also be able to print a proof of residence

document. Wisconsin allows many forms of proof of residence, Wis. Stat.

§ 6.34(a), such as a utility bill (including electric, utility or phone bills) or a

bank statement (including a credit card statement). (Wolfe Decl. ¶ 23.) Many

voters would have these documents either available to print from an online

source or in hard copy to send along with the application.

      Lastly, this Court should consider that Plaintiffs are requesting that

voters be allowed to register—which extends beyond this one election—based


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on circumstances affecting the current election. While extending voter

registration for one election can be considered temporary relief because it

would not apply to future elections, allowing voters to register without

following the law is a form of permanent relief because it does apply to future

elections. (Wolfe Decl. ¶ 28.) The low burdens on voters in normal

circumstances, the large number of voters who can still provide proof of

residence, and Plaintiffs’ failure to provide any evidence in support of their

claims, provide additional reasons to deny Plaintiffs’ motion.

            3.    Plaintiffs are not likely to succeed on their request for
                  relief from the voter ID requirement with new
                  absentee ballot requests.

      The important state interests served by a photo ID requirement for

voting are well-established. The Supreme Court and Seventh Circuit have

discussed these interests, including election system modernization, deterring

voter fraud, and safeguarding voter confidence. Crawford v. Marion Cty.

Election Bd., 553 U.S. 181, 192–97, 203 (2008) (holding that these interests

were sufficient to defeat a challenge to a voter ID law) (quotations omitted). As

the Seventh Circuit has described, “[t]he Supreme Court thought that a photo

ID requirement has other benefits: it deters fraud (so that a low frequency

stays low); it promotes accurate record keeping (so that people who have moved

after the date of registration do not vote in the wrong precinct); it promotes

voter confidence. Frank, 768 F.3d at 750 (citations omitted).


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      Against these important interests, Plaintiffs offer nothing more than

speculation, and misguided speculation at that. They first imply that all people

who wish to vote by absentee ballot must include a copy of a photo ID with

their request. (Pl. Br. 8.) But a copy of an ID is only required the first time you

request an absentee ballot after registering. (Wolfe Decl. ¶¶ 31–32.) If the

elector has a photo ID on file with their clerk’s office due to a previous absentee

by-mail request, he or she does not need to submit another copy. (Wolfe Decl.

¶ 31.) Thus, the measures taken to protect against COVID-19 do not add any

additional burdens to voters who have previously voted via absentee ballot and

thus already have a photo ID on file.

      Additionally, voters who are indefinitely confined, meaning they may

have difficulty getting to the polls for reason of age, illness, infirmity, or

disability are not required to provide a photo ID. Wis. Stat. § 6.86(2)(a); (Wolfe

Decl. ¶ 33.) And voters in care facilities can have a representative of the facility

confirm the resident’s identity instead of providing a photo ID. (Wolfe Decl.

¶ 33.) It is not the case that everyone voting absentee needs to provide a copy

of an ID, and the law already makes exceptions that apply to the elderly, ill,

and infirm, who are the people that Plaintiffs identify as “specifically at risk in

this pandemic.” (Pl. Br. 8.)

      Plaintiffs next argue that voters seeking to vote absentee “means a voter

must locate a copier, scanner, computer, and/or printer.” (Pl. Br. 8.) This is


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inaccurate; requesting an absentee ballot can be accomplished entirely on a

computer, tablet, or even a phone. All a voter must do is visit the MyVote

Wisconsin website, https://myvote.wi.gov, and enter the request. (Wolfe Decl.

¶ 31.) A voter can satisfy the ID requirement by taking a picture of their ID

with their computer, tablet, or phone, and uploading the photo to the website.

(Wolfe Decl. ¶ 31.) Thus, many voters can satisfy this requirement without

even leaving their homes or with assistance from a family member or friend

with a smartphone. Plaintiffs do not argue, let alone demonstrate, that

accessing a device such as a phone is unduly burdensome.

      Thus, the burden Plaintiffs allege—but do not support with evidence

from any voters—is limited to those who cannot use the website for requesting

an absentee ballot. Those voters who merely choose to request an absentee

ballot by fax or mail, but could use the website, are not burdened at all. Those

that cannot use the website, and are not indefinitely confined, and do not

already have a copy of their ID on file with the clerk, are required to submit a

printed copy of their ID. But those that print out their form to mail in would

have access to some printing capability, and some subset of that group would

be able to also copy their ID or take a photograph and print the photograph.

And those without the ability to use a copy machine or print a copy may be able

to secure copies at commercial establishments like FedEx stores, UPS stores,

convenience stores, and any other store offering copying services. The


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Governor’s executive orders have not shut down all stores. Plaintiffs’ only

evidence of difficulty is that the Madison library has closed, (Spiva Decl. Ex.

2), but libraries are not the only source for copying services. Plaintiffs have

submitted no evidence of the number of people that (1) must obtain a paper

copy of their ID and (2) are not able to secure a copy.

            4.     Plaintiffs are not likely to succeed on their request to
                   extend the date to accept absentee ballots.

      Plaintiffs request that this Court enter an injunction that “prohibits

defendants from rejecting ballots that are postmarked before or on Election

Day that arrive within ten days of Election Day.” (Pl. Br. 15–16.) As an initial

matter, that relief may not grant Plaintiffs what they want because it does not

require that these ballots actually be counted in the first instance. WEC does

not count ballots, absentee ballots or otherwise. Instead, ballot counting is done

at the local level, with absentee ballots counted at polling places, Wis. Stat.

§ 6.88, or by a municipal board of absentee ballot canvassers, Wis. Stat. § 7.52.

(Wolfe Decl. ¶ 34.) WEC is not involved in counting these votes. (Wolfe Decl.

¶ 37.) Thus, ordering WEC to accept absentee ballots received after April 7

does not require that the ballots be counted in the first instance. This could

result in different treatment of ballots depending on whether those ballots are

counted at the local level.




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      Wisconsin has a state interest in counting ballots received on election

day. Extending the deadline for counting ballots had a domino effect on

canvassing and certifying election results. (Wolfe Decl. ¶ 38.) Municipal boards

of canvass have until April 13 to certify the results to the county and must

publicly declare the results for municipal contests by the third Tuesday of

April. Wis. Stat. § 7.53(2)(d). This is also the date that the term begins for most

local offices. (Wolfe Decl. ¶ 36.) County boards of canvass have 10 days to

certify their election results to WEC, which is April 17, 2020. Wis. Stat.

§ 7.60(5). WEC then must publicly canvass the returns wherein it aggregates

the election results. (Wolfe Decl. ¶ 36.) Extending the deadlines to receive

absentee ballots will delay all these deadlines, including for local elections

where terms start in mid-April.

      Plaintiffs have not shown that there is an unconstitutional burden.

Instead, they merely hypothesize that because absentee voting is likely to

increase this year and “the strains that the coronavirus pandemic is already

placing on the mail system and postal workers, there is a strong likelihood that

large numbers of mail-in ballots” will be received after April 7. (Pl. Br. 2.) Nor

do Plaintiffs explain why ballots postmarked up to election day should be

counted when, even assuming no mail delays, a voter would need to mail the

ballot several days before election day to have it counted. This is insufficient

to show a burden on the right to vote and surely insufficient to support a


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temporary restraining order governing how ballots will be counted over two

weeks from now.

      Lastly, the defendants also note that Plaintiffs’ request is overbroad in

asking for ballots received ten days after election day to be counted. They have

submitted no evidence that any ballots, let alone a significant number, would

be mailed on election day and received ten days later. And the greater the

number of days for ballots to be received, the larger the impact on the state’s

vote canvassing and certifying processes.

      B.    Plaintiffs’ procedural due process claim is duplicative and
            should be dismissed.

      Plaintiffs’ procedural due process claim is not viable because it is

redundant to their First and Fourteenth Amendment claim asserting an undue

burden on the right to vote. (See Compl., Dkt. 1 ¶¶ 42–47.) Constitutional

claims must be addressed under the most applicable provision. Graham v.

Connor, 490 U.S. 386, 395 (1989). “When a particular amendment provides an

explicit textual source of constitutional protection against a particular sort of

government behavior, that amendment, not the more generalized notion of

substantive due process must be the guide for analyzing these claims.” Albright

v. Oliver, 510 U.S. 266, 273 (1994). The Seventh Circuit holds that plaintiffs

cannot expand their claims by attaching additional constitutional labels to

them. Conyers v. Abitz, 416 F.3d 580, 586 (7th Cir. 2005). This premise applies



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equally to Plaintiffs’ procedural due process claim, which is redundant of their

claim under the First and Fourteenth Amendment.

       Here, Plaintiffs challenge the same election law requirements in both

their First/Fourteenth Amendment claim and their procedural due process

claim. Plaintiffs allege the same facts in support of both claims, and they claim

the same injury—voter disenfranchisement. By inserting a procedural due

process claim into the mix, Plaintiffs are advocating for the application of two

different legal standards to the same set of operative facts. But the Supreme

Court has held that laws imposing a burden on the fundamental right to vote

are subject to the Anderson-Burdick test—not the test set forth in Mathews v.

Eldridge, 424 U.S. 319 (1976). See Anderson, 460 U.S. at 788; Burdick,

504 U.S. at 434.

       Plaintiffs have not indicated how their right under the First and

Fourteenth Amendments are different from their procedural due process

rights. Accordingly, Plaintiffs’ procedural due process claim should be

dismissed because it is redundant of the rights guaranteed by the more specific

First and Fourteenth Amendments governed by the Anderson-Burdick test.

VI.    Plaintiffs have failed to meet their burden of showing that they
       will suffer irreparable harm without a preliminary injunction.

       A plaintiff seeking preliminary relief must “demonstrate that

irreparable injury is likely in the absence of an injunction.” Winter, 555 U.S. at



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22. “Issuing a preliminary injunction based only on a possibility of irreparable

harm is inconsistent with [the Supreme Court’s] characterization of injunctive

relief as an extraordinary remedy that may only be awarded upon a clear

showing that the plaintiff is entitled to such relief.” Id. Without proving

irreparable harm, the Court need not decide any other question. See Abbott

Labs v. Mead Johnson & Co., 971 F.2d 6, 19 & n.6 (7th Cir. 1992) (plaintiff's

failure to demonstrate irreparable harm “dooms a plaintiff's case and renders

moot any further inquiry”).

      Plaintiffs’ motion fails for the same reasons their claims are unlikely to

succeed on the merits. Plaintiffs argue that they face irreparable harm if their

motion for preliminary injunction is denied because (1) voters will be

disenfranchised and (2) the laws will contribute to public health risks. (Pl. Br.

12–13.) As shown above, Plaintiffs have not shown a significant number of

voters will be disenfranchised or will have to risk their health in order to vote.

VII. There are public interest concerns with altering the election
     rules within weeks of the election.

      Before entering an injunction, the Court must consider whether the

injunction is in the public interest. In an election case, this Court must consider

“in addition to the harms attendant upon issuance or nonissuance of an

injunction, considerations specific to election cases and its own institutional

procedures.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006). Specifically, “[c]ourt



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orders affecting elections, especially conflicting orders, can themselves result

in voter confusion and consequent incentive to remain away from the polls. As

an election draws closer, that risk will increase.” Id. at 4–5. The Court must

consider the effect on the election even when an injunction is intended to

eliminate an allegedly unconstitutional barrier to voting. In Purcell, the

Supreme Court reversed a Ninth Circuit injunction that prohibited Arizona

from enforcing a voter ID requirement.

      Plaintiffs’ requests would change Wisconsin election law less than three

weeks before election day. Several of the potential negative effects have been

discussed above, such as the risk in changing Wisconsin’s electronic elections

systems so close to the election. And given that Wisconsin elections are run in

a decentralized manner through local clerks around the state, it will be

challenging to ensure that last-minute changes to the law are applied equally

throughout the State. While WEC can communicate any court-ordered changes

to the laws to the clerks, the clerks administer the elections at the ground level.

(Wolfe Decl. ¶ 4.) There is no guarantee that nearly 2000 clerks will uniformly

be able to adapt quickly to these changes, particularly when they are busy

preparing for the upcoming election. For example, even if this Court enjoined

the proof of residency requirement, clerks who are used to ensuring a proper

proof of residence document may still deny registration to a voter if they by fail

to change their procedures immediately after any WEC directive to do so.


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Similarly, clerks who are busy preparing for the election may not realize they

should accept a late application received by mail, or they may not have

sufficient staff to handle a new task added just for this election. And all

municipalities may not treat late-received absentee ballots in the same

manner. There is no guarantee that an injunction could be implemented in a

uniform manner statewide.

      In addition, communicating these changes to voters will be difficult, and

voters may be confused as to what is allowed in terms of registration and

absentee ballots. The public information currently available on Defendants’

and clerks’ websites references current law, as one would expect. (Wolfe Aff.

¶ 16.) While some voters will hear about a court order, many will not. As in

Purcell, a change in the law this close to an election could “result in voter

confusion.” 549 U.S. at 4–5.

      Defendants understand the Plaintiffs’ concerns that voting has become

more difficult during the time of the COVID-19 pandemic. If this Court finds

certain of the challenged laws impose burdens, it still needs to weigh the

potential remedy to those burdens against the concerns about the proper

functioning of the elections system as a whole, including voter confusion,

statewide application of any injunction, and the risk of mistakes when the law

is changed so closely to an election. Any relief must be tailored to alleviate




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burdens without causing unnecessary disruption to the elections system this

close to election day.

                              CONCLUSION

      For the foregoing reasons, the Court should deny Plaintiffs’ motion for

temporary restraining order and preliminary injunction.

      Dated this 20th day of March 2020.

                                    Respectfully submitted,

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                                    Electronically signed by:

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